                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                      Case No. 12-CR-88

MOHAMMAD UDDIN
             Defendant.


                                                 ORDER

       On June 28, 2013, I sentenced defendant Mohammad Uddin to 6 months on prison on

his guilty plea to conspiracy to traffic contraband cigarettes, allowing voluntary surrender to the

institution designated by the Bureau of Prisons. Defendant filed a notice of appeal, and his

appellate counsel now requests an extension of defendant’s August 8 report date so that

counsel may obtain transcripts and review the case for potential appellate issues.

       The government opposes the extension, arguing that defendant cannot make the

necessary showing for release pending appeal under 18 U.S.C. § 3143(b). Under that

provision, the court shall order that a defendant sentenced to a term of imprisonment be

detained unless the court finds (A) by clear and convincing evidence that the defendant is not

likely to flee or pose a danger; and (B) that the appeal is not for the purpose of delay and raises

a substantial question of law or fact likely to result in (i) reversal, (ii) an order for a new trial, (iii)

a sentence that does not include a term of imprisonment, or (iv) a reduced sentence to a term

of imprisonment less than the total of the time already served plus the expected duration of the

appeal process. The government concedes that defendant poses no danger or risk of flight

but argues that there are no non-frivolous appellate issues. Given his unconditional guilty plea



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and far-below guideline sentence, I tend to agree. However, defendant in reply explains that

while he cannot at this time make the necessary showing under § 3143(b) the relief he seeks

is more modest – an extension of the report date to August 26, 2013, the date his appellate

brief is due.

       Given the brief extension he requests, and the absence of prejudice to the government,

I will grant the request. However, defendant will be required to surrender by the new date

unless he can make the showing required by 18 U.S.C. § 3143(b).

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 244) is GRANTED, and his

surrender date is extended to August 26, 2013.

       Dated at Milwaukee, Wisconsin, this 2nd day of August, 2013.

                                         /s Lynn Adelman
                                         ______________________________
                                         LYNN ADELMAN
                                         District Judge




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